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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF GEORGIA
                               COLUMBUS DIVISION

H&L FARMS LLC, SHAUN HARRIS, and                *
AMIE HARRIS,
                                                *
      Plaintiffs,
                                                *
vs.
                                                *
SILICON RANCH CORPORATION,                               CASE NO. 4:21-CV-134 (CDL)
SR LUMPKIN, LLC, INFRASTRUCTURE                 *
AND ENERGY ALTERNATIVES, INC.,
IEA CONSTRUCTORS, LLC, and                      *
WESTWOOD PROFESSIONAL SERVICES,
INC.,                                           *

      Defendants.                               *

                                     JUDGMENT

      Based on the Court’s order dated May 3, 2023, the jury verdicts dated April 28, 2023, and

the Court’s order dated May 1, 2023, JUDGMENT is entered as follows:

              1.    In favor of Shaun Harris and against Silicon Ranch Corporation in the

      amount of $1,350,000.00.

              2.    In favor of Shaun Harris and against Infrastructure and Energy Alternatives,

      Inc. in the amount of $1,800,000.00.

              3.    In favor of Shaun Harris and against IEA Constructors, LLC in the amount

      of $1,350,000.00.

              4.    In favor of Amie Harris and against Silicon Ranch Corporation in the

      amount of $1,350,000.00.

              5.    In favor of Amie Harris and against Infrastructure and Energy Alternatives,

      Inc. in the amount of $1,800,000.00.
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       6.      In favor of Amie Harris and against IEA Constructors, LLC in the amount

of $1,350,000.00.

       7.      In favor of H & L Farms, LLC and against Silicon Ranch Corporation in

the amount of $450,000.00.

       8.      In favor of H & L Farms, LLC and against Infrastructure and Energy

Alternatives, Inc. in the amount of $600,000.00.

       9.      In favor of H & L Farms, LLC and against IEA Constructors, LLC in the

amount of $450,000.00.

       10.     In favor of Shaun Harris, Amie Harris and H & L Farms, LLC, jointly, and

against Silicon Ranch Corporation in the amount of $25,000,000.00.

       11.     In favor of Shaun Harris, Amie Harris and H & L Farms, LLC, jointly, and

against Infrastructure and Energy Alternatives, Inc. in the amount of $50,000,000.00.

       12.     In favor of Shaun Harris, Amie Harris and H & L Farms, LLC, jointly, and

against IEA Constructors, LLC in the amount of $50,000,000.00.

       13.     Plaintiffs shall receive post-judgment interest at the legal rate of 4.72%.

       14.     Plaintiffs shall receive injunctive relief as directed by the Court.

       15.     Plaintiffs shall recover their costs from Silicon Ranch Corporation,

Infrastructure and Energy Alternatives, Inc., and IEA Constructors, LLC.

       16.     Judgment shall be entered in favor of SR Lumpkin, LLC and Westwood

Professional Services, Inc., with Plaintiffs recovering nothing from them.

       17.     Westwood Professional Services, Inc. may recover its costs from Plaintiffs.

       18.     SR Lumpkin, LLC shall not recover its costs from Plaintiffs. Although SR

Lumpkin, LLC is technically a prevailing party in this action, it does not appear to the
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Court that SR Lumpkin, LLC incurred any independent costs to defend this action. Rather,

SR Lumpkin, LLC joined every filing made by Silicon Ranch Corporation and jointly

participated in discovery with Silicon Ranch Corporation. Based on the Court’s review of

the docket and its knowledge of this action, most of the joint Silicon Ranch Corporation/SR

Lumpkin, LLC discovery and filings focused on issues related to Silicon Ranch

Corporation. To allow SR Lumpkin, LLC to recover its costs under these circumstances

could undermine the Plaintiffs’ recovery of costs against Silicon Ranch Corporation. For

all these reasons, SR Lumpkin, LLC shall not recover its costs from Plaintiffs.

        This 3rd day of May, 2023.

                                     David W. Bunt, Clerk


                                     s/ Elizabeth S. Long, Deputy Clerk
